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                          AFFIDAVIT IN SUPPORT OF A
                   CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Darrell Franklin, a Special Agent (SA) with U.S. Immigration and Customs Enforcement
(ICE) – Homeland Security Investigations (HSI), being duly sworn, depose and state as follows:

        I am a Special Agent of HSI and have been so employed since February 2007. I have
successfully completed the eleven-week Criminal Investigator Training Program at the Federal
Law Enforcement Training Center; and the eleven-week Special Agent Basic Training course
offered by ICE. As part of my duties, I investigate criminal violations relating to child exploitation
and child pornography, including violations pertaining to persons traveling in interstate and foreign
commerce to sexually exploit children, coercion and enticement, and the illegal production,
distribution, receipt and possession of child pornography, in violation of Title 18, United States
Code, Sections 2423, 2422, 2251, 2252, and 2252A. I have personally conducted and participated
in numerous child exploitation and child pornography investigations, search warrants, interviews
and computer forensic examinations. I have received training and instruction in the field of
investigation of child pornography and have had the opportunity to participate in investigations
relating to the sexual exploitation of children. I have successfully completed several basic and
advanced child exploitation and child pornography investigation courses, including online
undercover techniques, child sex tourism, undercover chat, peer to peer investigations, and data
recovery and acquisition. Based on my training and experience, I have provided training and
instruction to other law enforcement officers on how to conduct child exploitation and child
pornography investigations. As part of my training and experience, I have reviewed images
containing child pornography in a variety of formats (such as digital still images and video images)
and media (such as storage devices, the Internet, and printed images).

       This case involves an international investigation of a Tor network-based child pornography
website herein referred to as “The Website.” 1 The Website server was physically located in South
Korea.

        This affidavit is submitted in support of a complaint charging Charles Douglas Wunderlich
(hereinafter “Wunderlich”) with Conspiracy to Distribute Child Pornography, in violation of Title
18, United States Code, Sections 2252(a)(2) and (b)(1). This affidavit is intended to show merely
that there is sufficient probable cause for the requested warrant and does not set forth all of my
knowledge about this matter. The statements in this affidavit are based on my investigation of this


1
  The actual name of “The Website” is known to law enforcement. The disclosure of the name of
The Website would potentially alert its users to the fact that law enforcement action is being taken
against users of The Website, thereby provoking users to notify other users of law enforcement
action, flee, and/or destroy evidence. Accordingly, to protect the confidentiality and integrity of
the ongoing investigation involved in this matter, specific names and other identifying factors have
been replaced with generic terms and the website will be identified herein as “The Website.”

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matter as well as information conveyed to me by other law enforcement officers, including agents
with the Internal Revenue Service – Criminal Investigation (IRS-CI), Cyber Crimes Unit.

                                   DEFINITION OF TERMS

The Tor Network

       Tor is a computer network which anonymizes Internet activity by routing a user’s
communications through a global network of relay computers (or proxies), thus effectively
masking the internet-protocol (“IP”) address of the user. An “IP address” is a unique numeric
address (used by computers on the internet) that is assigned to properly direct internet traffic. A
publically visible IP address can allow for the identification of the user and his/her location.

        To access the Tor network, a user has to install freely available Tor software, which relays
only the IP address of the last relay computer (the “exit node”), as opposed to the user’s actual IP
address. There is no practical method to trace a user’s actual IP address back through those Tor
relay computers.

       The Tor network makes it possible for a user to operate a special type of website, called
“hidden services,” which uses a web address that is comprised of a series of 16 algorithm-generated
characters (such as “asdlk8fs9dflku7f”) followed by the suffix “.onion.” Websites, including
hidden services, have system administrator(s) (also called the “admin(s)”) who are responsible for
overseeing and operating these websites.

Bitcoin

        Bitcoin (“BTC”) is one type of virtual currency that is circulated over the Internet. BTC is
not issued by any government, bank, or company but rather is controlled through computer
software. Generally, BTC is sent and received using a BTC “address,” which is like a bank account
number and is represented by a case-sensitive string of numbers and letters. Each BTC address is
controlled through the use of a unique private key, a cryptographic equivalent of a password. Users
can operate multiple BTC addresses at any given time, with the possibility of using a unique BTC
address for every transaction.

        BTC fluctuates in value. Around March 5, 2018, one BTC was worth approximately
$11,573.00. A typical user purchases BTC from a BTC virtual-currency exchange, which is a
business that allows customers to trade virtual currencies for conventional money (e.g., U.S.
dollars, euros, etc.). Little to no personally identifiable information about the sender or recipient
is transmitted in a BTC transaction itself. However, virtual currency exchanges are required by
U.S. law to collect identifying information of their customers and verify their clients’ identities.

       To send BTC to another address, the sender transmits a transaction announcement,
cryptographically signed with the sender’s private key, across the BTC network. Once the sender’s

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transaction announcement is verified, the transaction is added to the blockchain. The blockchain
is a decentralized, public ledger that logs every BTC transaction. In some instances, blockchain
analysis can reveal whether multiple BTC addresses are controlled by the same individual or entity.
For example, analyzing the data underlying BTC transactions allowed for the creation of large
databases that grouped BTC transactions into “clusters.” This analysis allowed for the
identification of BTC addresses that were involved in transacting with the same addresses.

                                        THE WEBSITE

        “The Website” was a website dedicated to the advertisement and distribution of child
pornography that operated as a hidden service on the Tor network until March of 2018 when it
was seized by law enforcement. On or about September 28, 2017, February 8, 2018, and February
22, 2018, from a location in Washington, D.C. law enforcement agents accessed The Website and
documented its content, which is described herein. The Website was used to host and distribute
video files depicting child pornography that could be downloaded by site users. The Website was
not intended to be used to upload pornography of adults, as evidenced on the upload page on The
Website which clearly stated: “Do not upload adult porn.”

       On the video search page of The Website, there was a list of keyword search terms and the
number of videos associated with the keyword. When law enforcement accessed the contents of
The Website on or about February 8, 2018, it was determined that some of the top keyword search
terms included “PTHC” (over 10,000 videos), “PEDO” (over 7,000 videos), “2yo%” (over 4,000
videos) and “4yo%” (over 4,000 videos). 2

        On or about February 8, 2018, The Website indicated on its download page details that its
users had downloaded video files from The Website more than a million times. On or about March
5, 2018, The Website server had over 200,000 unique video files, which totaled approximately
eight terabytes of data.

        Any user could create a free account on The Website by creating a username and password.
Only after the user registered an account could the user browse previews of videos available for
download and post text to The Website. To download videos from the site, users used “points,”
which were allocated to users by The Website. A registered user could earn points from The
Website in several ways: (1) uploading videos depicting child pornography; (2) referring new
users to The Website; (3) paying for a “VIP” account, which lasted for six months, entitled a user
to unlimited downloads, and was priced at 0.03 BTC (approximately $327.60 as of March 1, 2018);




2
   I am aware from my training and experience that “PTHC” stands for “preteen hardcore,” PEDO
is a reference to “pedophile,” and the references to “2yo” and “4yo” represent ages of children.


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or (4) paying for points incrementally (i.e., .02 BTC for 230 points). 3 Points were not transferable
to any other website or application. Once a customer sent BTC to The Website, the BTC could not
be refunded or redirected. The points obtained by the payment of BTC could only be used for
downloading videos.

        Certain persons joined the conspiracy to distribute child pornography by uploading videos
to The Website. Those co-conspirators who uploaded videos of child pornography to The Website
for “points” also earned additional “points” each time a customer of the site downloaded that
particular video from The Website. Thus, the co-conspirators had a shared goal as part of the
conspiracy – increasing the number of unique videos on The Website to drive additional traffic to
it, which in turn led to greater downloads and more points for the co-conspirators. When uploading
videos, the co-conspirators would use explicit file names highlighting the content as showing the
sexual exploitation of minors and would add tags that customers could search for, such as PTHC,
2yo, etc. In order to prevent duplicate videos from being uploaded, The Website operated a digital
hash-value check of videos the co-conspirators uploaded in order to compare the video to other
videos previously uploaded to the site. The Website did not allow a co-conspirator to upload a
video whose hash value matched something previously uploaded to the site.

        During the course of the investigation, law enforcement agents in Washington, D.C.
accessed The Website on multiple occasions, including on or about September 28, 2017, February
8, 2018, and February 22, 2018, observed its functionality by browsing the listings on The Website,
and conducted undercover purchases by downloading child pornography video files from The
Website. These downloaded child pornography video files included pre-pubescent children,
infants, and toddlers engaged in sexually explicit conduct. Each video available for download
from The Website had a title, a description (if added by the co-conspirator), “tags” with further
descriptions of the video enabling a user to more easily locate a particular category of video using
The Website’s search function, and a preview thumbnail image that contained approximately
sixteen unique still images from the video.

           INVESTIGATION OF THE ADMINISTRATOR OF THE WEBSITE

        On or about September 1, 2017, law enforcement reviewed the source code of The
Website’s homepage, which could be viewed by right-clicking on The Website in the Tor browser
and selecting “View Page Source.” In reviewing the source code, law enforcement discovered that
The Website had failed to conceal an IP address, likely due to user error on the part of the
administrator. This IP address resolved to a telecommunications provider in South Korea.
Subsequent investigation confirmed that this IP address was registered in the name of Jong Woo
Son and was serviced at his residence in South Korea.


3
 Bitcoin is volatile and the price of bitcoin can fluctuate on an hourly basis. Between January
2017 and February 2018, for example, 1 bitcoin fluctuated in price from approximately $1,000 to
$20,000 USD.

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        On February 28, 2018, a federal magistrate judge in the United States District Court for the
District of Columbia issued an arrest warrant for Jong Woo Son. See 1:18-mj-00019 (GMH)
(Sealed). On or about March 5, 2018, South Korean law enforcement executed a search warrant at
the residence of Jong Woo Son in South Korea. Pursuant to the search, South Korean law
enforcement seized The Website’s server and associated electronic storage media from the
bedroom of Jong Woo Son – The Website’s administrator. South Korean law enforcement then
provided to U.S. law enforcement a forensic image of the server. U.S. law enforcement
subsequently obtained a federal search warrant to review this forensic image. See 1:18-sw-00052
(RMM) (Sealed).

        A review of the imaged data confirmed that The Website was hosted on the seized server.
A review of a sample of the video files further corroborated that The Website was dedicated to the
distribution of child pornography. The customer data generally identified which user was
associated with which BTC payment to The Website. A review of a sample of the payments to
The Website cross-referenced against the username and download data from the server revealed
that each payment to The Website corresponded with the user downloading at least one video from
The Website. A review of the forensic image of the server further revealed that certain customers
that paid BTC into The Website were also co-conspirators who uploaded content to the site.

        On August 8, 2018, a federal grand jury in the District of Columbia indicted Jong Woo Son
on various counts, including Conspiracy to Distribute Child Pornography, in violation of 18 U.S.C.
Sections 2252(a)(2) and (b)(1). See 1:18-mj-00243 (DAF) (Sealed).

                IDENTIFICATION OF CO-CONSPIRATOR WUNDERLICH
                            (A/K/A THUERINGER92262)

        As part of the investigation, law enforcement reviewed the forensic image of The Website
server to obtain leads on the co-conspirators participating in the scheme involving The Website.
After law enforcement identified a unique BTC address that sent BTC to the site, law enforcement
would obtain records from the virtual-currency exchanges that transacted with those addresses to
identify who the person was behind the transaction. Law enforcement has arrested many of the
subsequently identified co-conspirators.

        A review of the forensic image of The Website server revealed four transfers of BTC
totaling approximately 0.0948203 BTC (worth about $72.22 at the time of transaction) from a
virtual-currency exchange in the United States (“BTC Exchange 1”) to The Website’s BTC address
starting in 1Lha 4 on the following dates:

            •   February 4, 2017 – 0.0408 BTC ($40.49)
            •   October 9, 2016 – 0.0138 BTC ($7.99)

4
  BTC addresses are identified by their first four characters, much like bank account are often
identified by their last four numbers.

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            •   October 9, 2016 – 0.03430814 BTC ($20.62)
            •   October 3, 2016 – 0.00591216 BTC ($3.12)

       Records from the BTC Exchange 1 revealed that the source of these BTC transfers were
from the same account with the username “chuck2565666” (“Subject BTC Account 1”).

        Law enforcement’s review of the forensic image of the server revealed that The Website
created the BTC address starting with 1Lha for a user account in the name of thueringer92262 (as
noted, each user account on The Website received a unique BTC address to receive payments from
that person). A review of co-conspirator thueringer92262’s account revealed that between
approximately August 16, 2017 and November 9, 2017, co-conspirator thueringer92262
downloaded approximately four videos from The Website with video file names and descriptions
indicative of child pornography. Additionally, from approximately July 24, 2016 to October 5,
2016 co-conspirator thueringer92262 uploaded approximately 13 videos to The Website with
video file names and descriptions indicative of child pornography.

        Law enforcement viewed the videos that co-conspirator thueringer92262 uploaded to The
Website. One of the videos uploaded by co-conspirator thueringer92262 was entitled “(Pthc
Kidcam Lolifuck) 11Yo Girl Moaning Having Orgasm.avi.” The video had a description tag
entitled “dammiytboys and girls.” The video, which is approximately 2 minutes and 18 seconds
long, depicts a nude prepubescent female child, approximately 10-11 years old, sitting on a chair
facing the camera with her legs apart. During the video, the child uses her right hand to
masturbate her genitalia while looking at the camera. After one minute into the video, the child
moves toward the camera and appears to be using a keyboard, indicating she is using a computer.
The child repositions the angle of the camera downward to focus on her genitalia as she
continues to masturbate her genitalia using her fingers. At the end of the video, the child stands
up, turns around with her buttocks exposed to the camera, and uses her hands to spread her
buttocks to expose her genitalia. This video was downloaded approximately 18 times by other
users of The Website.

         Another video that co-conspirator thueringer92262 uploaded to The Website was entitled
“Pthc - 9Yo Linda Takes Dad Up Ass And Sucks His Cum And Swallows.mpg.” The video had
a description tag entitled “boys and gorls.” The video, which is approximately 33 minutes and
52 seconds long, depicts a nude prepubescent child, approximately 10-12 years old, performing
fellatio on the penis of a nude adult male. Approximately seven minutes into the video, the scene
changes to depict the child laying on her back with the focus of the camera on her genitalia while
the child masturbates her genitalia with her fingers and a white vibrator. The child also inserts
her fingers and the vibrator into her vagina and anus. Approximately twenty minutes into the
video, the adult male inserts his penis into her anus while the child continues to masturbate her
genitalia with her fingers. The adult male continues to engage in anal sex with the child until the
end of the video. This video was downloaded approximately 10 times by other users of The
Website.


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        Your affiant also reviewed co-conspirator thueringer92262’s downloads from The Website
and confirmed that the videos depicted child pornography. For example, a video with hash tag
“55fbc366e0beb63e08ffc35e56e44242” and entitled “Zz99 - ((((Boylove)))) Datrufeelin 5Yo Thai
Boy Gets Fucked In The Ass And Then Fucked Again Super Doggy Style By Man.avi, which is
approximately 23 minutes and 52 seconds long, depicts a nude prepubescent boy and a nude adult
on a brown and tan colored couch. When the video opens, the boy is seen masturbating the male’s
erect penis. During the video, the adult male spreads the boy’s legs apart, repeatedly inserts his
finger into the boy’s anus, and penetrates the boy’s anus with his erect penis. In the video, the
adult male handcuffs the boy’s arms and ankles, turns him on his stomach, and inserts a plug into
the boy’s anus. Thereafter, the adult male penetrates the boy’s anus again with his penis while the
boy remains handcuffed on his wrists and ankles.

      Records from the BTC Exchange 1 revealed that the Subject BTC Account 1 (which sent
BTC to The Website) was created on or about October 3, 2016 with the following know-your-
customer data:

       -   a phone number of 951-472-3546; and
       -   an email address of jackmioff692565@gmail.com

        As part of the BTC Exchange 1’s legally required customer due diligence rules, BTC
Exchange 1 confirmed this email address and phone number by sending messages to which the
user had to reply. WUNDERLICH funded Subject BTC Account 1 by using prepaid credit cards,
which typically do not require a proof of identification to purchase and can be funded by cash in
over the counter transactions. Based on my training and experience, I know that people typically
fund their BTC accounts by linking to a bank account. Law enforcement can subpoena such banks
to collect identifying information on the account holder. Sophisticated users who are seeking to
conceal their activities and identity, however, use prepaid cards which are more difficult, if not
impossible to trace.

         Subpoena returns from Google for jackmioff692565@gmail.com provided the name “Jon
D” with a recovery email address of wunderlichcharles@yahoo.com (i.e., Charles Wunderlich).
Based on my training and experience, I know that a recovery email address is a secondary email
account that is used to communicate with the user by the email provider if the user loses access to
the primary email account. Often times, criminals create multiple email accounts to obfuscate
their trail and create layers between the activity. However, for simplicity, they may use the same
recovery email address. Subpoena returns from Yahoo for wunderlichcharles@yahoo.com lists
Charles Wunderlich (“WUNDERLICH”) as the user and the recovery email address as
jackmioff692565@gmail.com. The Yahoo account also listed a phone number of 760-219-5874.
Thus, WUNDERLICH linked both of his emails accounts, the alias account used to open Subject
BTC Account 1 and the account in his name, to each other..

      Besides the four transfers to The Website, the only other transaction by Subject BTC
Account 1 a transfer was on or about December 30, 2017 for approximately 0.00522238 BTC

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($55.77) to BTC address 1H8Y, which was located at a separate United States virtual-currency
exchange (“BTC Exchange 2”).

       Subpoena returns from BTC Exchange 2 revealed the owner of BTC address 1H8Y was
“Charles Douglas Wunderlich” (“Subject BTC Account 2”). Additionally, BTC Exchange 2
revealed that Subject BTC Account 2 was created on or about November 30, 2017 with the
following know-your-customer data:

       -   an email address of jackmioff692565@gmail.com, which is the same email address
           associated with Subject BTC Account 1;

       -   user name of “jack mioff;”

       -   a photograph of a California driver’s license numbered D6514780 in the name of
           Charles Douglas Wunderlich (WUNDERLICH);

       -   a selfie-styled photograph of an individual resembling the photograph identified on
           Wunderlich’s driver’s license;

       -   a date of birth of January 31, 1985, which is the same date of birth identified on the
           driver’s license for WUNDERLICH 5;

       -   an address of XXXXX Tamar Drive, Desert Hot Springs, California, which is the same
           address identified on the driver’s license for WUNDERLICH; and

       -   a phone number ending in 5874, which is the same phone number associated with
           WUNDERLICH’S Yahoo account (wunderlichcharles@yahoo.com).

        In sum, Subject BTC Account 1 sent money to The Website on four occasions. After these
transfers, the balance of Subject BTC Account 1 was transferred to Subject BTC Account 2.
Subject BTC Account 2 is linked to WUNDERLICH by his (a) name on his driver’s license, (b)
photograph of himself, and (c) personal identifying information, such as his date of birth, address,
and telephone number. Additionally, records revealed that Subject BTC Account 1, Subject BTC
Account 2, wunderlichcharles@yahoo.com, and jackmioff692565@gmail.com were all accessed
via IP addresses resolving to the greater San Bernardino, California area, which encompasses
Desert Hot Springs.

        I queried the home address listed on WUNDERLICH’s California driver’s license, which
is the same address that WUNDERLICH used to open Subject BTC Account 2. Your affiant
learned from the owner of this residence that WUNDERLICH has not ever lived at the address,
however the owner permits WUNDERLICH to use the address on documents, forms, etc.

5
  Records from BTC Exchange 2 had a second separate date of birth field in its records, which
listed the date as “12/31/1985.” This appears to be a typographical error, as the correct date is
“1/31/1985.”

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    Your affiant has been unable to identify a permanent residential address for
WUNDERLICH. Between 2007 and 2018, WUNDERLICH has had twelve different addresses.
WUNDERLICH is currently incarcerated in California on an unrelated crime.

                        THE CONSPIRACY AND RELATED VENUE

        As noted above, during the course of the investigation, law enforcement agents in
Washington, D.C. accessed The Website on multiple occasions, including on or about September
28, 2017, February 8, 2018, and February 22, 2018. On each of these occasions, agents conducted
undercover purchases, while in Washington, D.C., by downloading child pornography video files
from The Website. These downloaded child pornography video files included pre-pubescent
children, infants, and toddlers engaged in sexually explicit conduct. Each video available for
download from The Website had a title, a description (if added by the co-conspirator uploader),
“tags” with further descriptions of the video enabling a user to more easily locate a particular
category of video using The Website’s search function, and a preview thumbnail image that
contained approximately sixteen unique still images from the video. Based on these undercover
purchases from Washington D.C., a federal magistrate judge in the United States District Court
for the District of Columbia issued an arrest warrant for Jong Woo Son on February 28, 2018. See
1:18-mj-00019 (GMH) (Sealed). Further, on August 8, 2018, a federal grand jury in the District
of Columbia indicted Jong Woo Son on various counts, including Conspiracy to Distribute Child
Pornography, in violation of 18 U.S.C. Sections 2252(a)(2) and (b)(1). See 1:18-mj-00243 (DAF)
(Sealed).

        This case is consistent with a hub-and-spoke conspiracy, wherein a central figure (i.e., Jong
Woo Son) had an agreement among separate persons (i.e., content uploaders such as
WUNDERLICH) to achieve a common objective. In a hub-and-spoke conspiracy, one person
typically acts as a central point while others act as “spokes” by virtue of their agreement with the
central actor. See Kotteakos v. United States, 328 U.S. 750, 754–55 (1946). To prove a conspiracy
in such a situation, the Government must show that there was a “rim” around the spokes, such that
the “spokes” became coconspirators with each other. To do so, the Government must prove that
“each defendant ... participated in the conspiracy with the common goal or purpose of the other
defendants.” United States v. Taggert, No. 09 Cr. 984(BSJ), 2010 WL532530, at *1 (S.D.N.Y.
Feb. 11, 2010).

        At a minimum, each uploader, who is a member of the conspiracy, agreed to participate
“‘in what he knew to be a collective venture directed towards a common goal.’” United States v.
Eppolito, 543 F.3d 25, 47 (2d Cir.2008). Courts have used a series of factors to determine whether
a single conspiracy exists, such as whether the participants shared a common goal (for example,
distribution of child pornography), the interdependence among participants (for example, did
various individuals fill distinct but necessary roles to carry out the enterprise, and did the
participants “mesh” to produce a complete enterprise), and similarities in method of operation.
See, e.g., United States v. Graham, 83 F.3d 1466, 1471 (D.C. Cir. 1996); United States v.
Tarantino, 846 F.2d 1384, 1392-94 (D.C. Cir. 1988) (indictment that charges a defendant with a

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single conspiracy count involving multiple criminal incidents is proper where the government’s
proof at trial establishes that in each incident the conspirators “had the specific intent to further [a]
common unlawful objective”). It is not necessary that the defendant in such a case knew all of the
other conspirators or even that he knew what the other conspirators did. See Tarantino, 846 F.2d
at 1392.

        This was a single conspiracy with a common purpose and interdependence among the
participants. The defendant, Jong Woo Son, set up a site where he actively requested other
individuals to upload their child pornography content to the site in exchange for them receiving
points that they could redeem only at The Website. Notably, the more users that download the
uploaders’ videos, the more points that uploader would get to redeem on the site in order to access
more child pornography. Accordingly, there was a common goal to upload child pornography so
that the uploaders got points for each download of their video, and Jong Woo Son obtained Bitcoin
for each download of the uploaders’ videos. More specifically, the uploaders contributed to the
conspiracy to advertise by not only uploading their content to the site, but by adding a “description”
as to what the video entailed (thereby advertising the content and providing a notice as to what
that video is so that users would choose to download their video over someone else’s video). Jong
Woo Son had a hash value check that was run on each uploaded video to ensure that the collection
was unique and that uploaders were not submitting duplicative videos. A video would be rejected
from the site if it was duplicative.

         Such conspiracies have previously been approved by courts. See United States v. Ulbricht,
31 F. Supp. 3d 540, 554–55 (S.D.N.Y. 2014). By designing, launching, and administering the Silk
Road (a darknet marketplace), Ulbricht conspired with narcotics traffickers and hackers to buy and
sell illegal narcotics and malicious computer software and to launder the proceeds using Bitcoin.
See id. There was no allegation that Ulbricht conspired with anyone prior to his launch of Silk
Road. Rather, the allegations revolved around the numerous transactions that occurred on the site
following its launch. Like Jong Woo Son, Ulbricht purposefully and intentionally designed,
created, and operated Silk Road to facilitate unlawful transactions. When third parties engaged in
unlawful narcotics transactions on the site, Ulbricht's design and operation gave rise to potential
conspiratorial conduct – even if there was no explicit agreement. See id. at 555-556; see also
United States v. Svoboda, 347 F.3d 471, 477 (2d Cir.2003) (“A conspiracy need not be shown by
proof of an explicit agreement but can be established by showing that the parties have a tacit
understanding to carry out the prohibited conduct.”). Similarly, defendants in an “e-group” for
child pornography called “Candyman E-Group” also participated in a conspiracy. United States
v. Froman, 355 F.3d 882, 884-85 (5th Cir. 2004). Candyman E-Group was a hybrid bulletin
board/email distribution group that allowed members to post images or video files for other
members to view and download. See id. When a member uploaded content to the Candyman E-
Group Web site, all subscribers would receive an email, daily digest notification, or no email and
would simply review the content on the website where they were archived. Id. Though the Fifth
Circuit did not specifically address the elements of conspiracy, the Fifth Circuit detailed the facts
of the case and highlighted the following: that the main web page for the group announced its
mission (“This group is for People who love kids. You can post any type of messages you like too

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[sic] or any type of pics and vids you like too [sic].” Id. at 885.); that in order to access the website
and all its functions (including an email distribution list), one needed to subscribe; and that Froman
had subscribed to be a member of the group and continued to subscribe to the group until it was
shut down a month later. Id. Accordingly, the Fifth Circuit upheld the conspiracy conviction.
Such facts are nearly identical to the charged conspiracy in the instant case.

        “In a conspiracy prosecution, ‘venue is proper in any jurisdiction where any co-
conspirator committed an overt act in furtherance of the conspiracy.’” United States v. Sitzmann,
74 F. Supp. 3d 96, 103 (D.D.C. 2014), aff'd, 893 F.3d 811 (D.C. Cir. 2018) (quoting United
States v. Watson, 717 F.3d 196, 198 (D.C. Cir. 2013)); see also Whitfield v. United States, 543
U.S. 209, 218, (2005) (“[T]his Court has long held that venue is proper in any district in which
an overt act in furtherance of the conspiracy was committed, even where an overt act is not a
required element of the conspiracy offense.”) (citing United States v. Socony–Vacuum Oil Co.,
310 U.S. 150, 252, (1940)); United States v. Fahnbulleh, 752 F.3d 470, 477 (D.C.Cir.2014).

                                           CONCLUSION

        Numerous co-conspirators, to include co-conspirator WUNDERLICH, conspired with the
administrator of The Website, co-conspirator Jong Woo Son, to upload child pornography videos
files to The Website for dissemination to The Website’s vast customers. The co-conspirators
entered into this agreement to benefit:

       a.    co-conspirator Jong Woo Son, who obtained illicit income as co-conspirators
uploaded more video files to The Website, which other customers then paid to access; and

        b.      co-conspirator WUNDERLICH, who derived points from uploading videos and
further points from the uploads when users of The Website downloaded his videos, and these points
could then be redeemed to download new video files from The Website.




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        Accordingly, based on the above facts, your affiant submits that there is probable cause to
believe that between at least on or about July 24, 2016 and on or about October 5, 2016,
WUNDERLICH committed the offense of Conspiracy to Distribute Child Pornography, in
violation of Title 18, United States Code, Sections 2252(a)(2) and (b)(1).



                                                 signed telephonically        _
                                             SA Darrell Franklin
                                             Homeland Security Investigations


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 based on
information communicated by telephone on this __23rd__ day of September, 2019.




                                             ________________________________________
                                             Hon. G. Michael Harvey
                                             United States Magistrate Judge




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